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                                             EXHIBIT A



                                            Proposed Order




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            )                               Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a )                               Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             )                               Jointly Administered
                                      )
                        Debtors.      )                               Related to Docket No. ___
                                      )

               ORDER (I) AUTHORIZING RETENTION AND EMPLOYMENT OF
             CENTURION SERVICE GROUP, LLC, AS AUCTIONEER, (II) WAIVING
                 COMPLIANCE WITH CERTAIN REQUIREMENTS OF LOCAL
                RULE 2016-2; AND (III) APPROVING SALE AND LIQUIDATION
             OF CERTAIN MEDICAL EQUIPMENT, FURNITURE AND INVENTORY

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors-in-

possession (collectively, the “Debtors”) for entry of an order (this “Order”) (i) authorizing the

Debtors to employ and retain Centurion Service Group, LLC (“Centurion”) as auctioneer to the

Debtors; (ii) waiving compliance with certain requirements of Local Rule 2016-2; and

(iii) approving the sale and liquidation of certain medical equipment, furniture and inventory (as

described further below, the “Auction Assets”) free and clear of all liens, claims and

encumbrances through Centurion; and upon consideration of the Centurion Declaration and the

First Day Declaration; and it appearing that this Court has jurisdiction over the Motion pursuant

to 28 U.S.C. §§ 57 and 1334; and it appearing that venue of the Chapter 11 Cases and the Motion


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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.
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             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed in the Motion.




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in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this

matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court being satisfied based

on the representations made in the Motion and in the Centurion Declaration that the terms and

conditions of Centurion’s employment as set forth in the Centurion Engagement Agreement and

summarized in the Motion and in the Centurion Declaration, are reasonable as required by

section 328(a) of the Bankruptcy Code; and Centurion not holding or representing interests

adverse to the Debtors’ estates; and Centurion being a “disinterested person” as such term is

defined under section 101(14) of the Bankruptcy Code; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors and

other parties in interest; and a sound business purpose exists for the relief granted herein; and due

and proper notice of the Motion having been provided, and it appearing that no other or further

notice need be provided; and upon the record of the hearing, if any, and all of the proceedings

had before the Court; and upon finding that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefor:

THE COURT HEREBY FINDS AND DETERMINES THAT:

             A.          The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable this proceeding

pursuant to Bankruptcy Rule 9014.

             B.          To the extent any of the following findings of fact constitute conclusions of law,

they are adopted as such. To the extent any of the following conclusions of law constitute

findings of fact, they are adopted as such.




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             C.          Approving of the retention of Centurion and the sale of the Auction Assets

pursuant to the terms set forth in the Centurion Engagement Agreement are in the best interests

of the Debtors and their creditors, estates and other parties in interest.

             D.          The Debtors have demonstrated a good, sufficient and sound business purpose

and justification for the retention of Centurion and the sale of the Auction Assets pursuant to the

terms set forth in the Centurion Engagement Agreement.

             E.          The Debtors may sell the Auction Assets free and clear of all Interests of any kind

or nature because, in each case, one or more of the standards set forth in section 363(f)(1)-(5) of

the Bankruptcy Code has been satisfied.

             IT IS HEREBY ORDERED THAT:

             1.          The Motion is GRANTED to the extent provided herein.

             2.          The Debtors are authorized, pursuant to sections 327(a) and 328(a) of the

Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1 and 2016-1, to

employ and retain Centurion as their equipment auctioneer in connection with the Chapter 11

Cases in accordance with the terms and conditions set forth in the Motion and in the Centurion

Engagement Agreement.

             3.          The Debtors are authorized to compensate and reimburse Centurion pursuant to

the terms of the Centurion Engagement Agreement.

             4.          The compensation structure as set forth in the Centurion Engagement Agreement,

is approved pursuant to section 328(a) of the Bankruptcy Code, and Centurion shall be

compensated and reimbursed for its fees and expenses in the Chapter 11 Cases pursuant to

section 328(a) of the Bankruptcy Code in accordance with the terms of the Centurion




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Engagement Letter, subject to the procedures set forth in the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, the UST Guidelines and any applicable orders of this Court.

             5.          Centurion’s compensation shall be subject to the standard of review provided in

section 328(a) of the Bankruptcy Code and not subject to any other standard of review under

section 330 of the Bankruptcy Code; provided, however, that the U.S. Trustee shall have the

right to object to Centurion’s request for compensation and expense reimbursement based on the

reasonableness standard provided in section 330 of the Bankruptcy Code, and not section 328(a)

of the Bankruptcy Code.

             6.          Centurion shall comply with all requirements of Bankruptcy Rule 2016(a) and

Local Rule 2016-2, except that Centurion is hereby granted a waiver of the information-keeping

requirements of Local Rule 2016-2, such that Centurion shall not be required to keep

professional time records.

             7.          The Indemnification Provisions set forth in the Centurion Engagement Agreement

are approved, subject during the pendency of the Debtors’ Chapter 11 Cases to the following:

                         a. Subject to the provisions of subparagraphs (b) and (c) below, the Debtors are
                            authorized to indemnify, and shall indemnify, Centurion for any claims arising
                            from, related to, or in connection with the services to be provided by
                            Centurion as specified in the Motion, but not for any claim arising from,
                            related to, or in connection with Centurion post-petition performance of any
                            other services other than those in connection with the engagement, unless such
                            post-petition services and indemnification therefor are approved by this Court;

                         b. Notwithstanding any provisions of the Centurion Engagement Agreement to
                            the contrary, the Debtors shall have no obligation to indemnify Centurion or
                            provide contribution or reimbursement to Centurion (i) for any claim or
                            expense that is judicially determined (the determination having become final)
                            to have arisen from Centurion’s bad faith, self-dealing, breach of fiduciary
                            duty (if any), willful misconduct or gross negligence, (ii) for a contractual
                            dispute in which the Debtors allege the breach of Centurion’s contractual
                            obligations if the Court determines that indemnification, contribution, or
                            reimbursement would not be permissible pursuant to In re United Artists
                            Theatre Company, 315 F.3d 217 (3d Cir. 2003), or (iii) for any claim or


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                            expense that is settled prior to a judicial determination as to the exclusions set
                            forth in clauses (i) and (ii) above, but determined by the Court, after notice
                            and a hearing pursuant to subparagraph (c), infra, to be a claim or expense for
                            which Centurion should not receive indemnity, contribution or reimbursement
                            under the terms of the Centurion Engagement Agreement, as modified by this
                            Order; and

                         c. If, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                            in these cases (that order having become a final order no longer subject to
                            appeal), and (ii) the entry of an order closing these Chapter 11 Cases,
                            Centurion believes that it is entitled to the payment of any amounts by the
                            Debtors on account of the Debtors’ indemnification obligations under the
                            Motion, including, without limitation, the advancement of defense costs,
                            Centurion must file an application in this Court, and the Debtors may not pay
                            any such amounts to Centurion before the entry of an order by this Court
                            approving the payment. This subparagraph (c) is intended only to specify the
                            period of time under which the Court shall have jurisdiction over any request
                            for fees and expenses by Centurion for indemnification, and not as a provision
                            limiting the duration of the Debtors’ obligation to Centurion.

             8.          Pursuant to section 363(b) of the Bankruptcy Code, the Debtors are authorized to

perform their obligations under, and comply with the terms of, the Centurion Engagement

Agreement relating to the sale of the Auction Assets, and to consummate such sale or sales,

pursuant to and in accordance with the terms and conditions of the Centurion Engagement

Agreement as set forth herein.

             9.          The Debtors are authorized to execute and deliver, and empowered to

consummate and implement any and all sales of the Auction Assets pursuant to the terms set

forth in the Centurion Engagement Agreement, and to execute and deliver, and perform under,

any additional instruments and documents that the Debtors deem necessary or appropriate to

implement such sales, and to take all further action as may be necessary or appropriate in

connection therewith.

             10.         Pursuant to section 363(f) of the Bankruptcy Code, all sales of the Auction Assets

under the terms set forth in the Centurion Engagement Agreement shall be free and clear of all



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liens, claims, encumbrances and other interests of any kind or nature whatsoever. Any such

interests shall be transferred and attached to the sale proceeds with the same validity and priority,

and subject to the same defenses, that such interests had against the Auction Assets.

             11.         The Debtors shall not be required to file a separate motion or seek court approval

for the sale of the Auction Assets, which are authorized to be sold pursuant to the terms set forth

in this Order and the Centurion Engagement Agreement.

             12.         At the conclusion of the auction process, the Debtors shall file with the Court a

report of the results of the auction sales, including the net proceeds realized by the estates

therefrom.

             13.         To the extent the Motion or the Centurion Engagement Agreement is inconsistent

with the terms of this Order, the terms of this Order shall govern.

             14.         The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this order.

             15.         The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

             16.         This Court shall retain jurisdiction to hear and to determine all matters arising

from or related to the implementation of this Order.




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